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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )            8:05CR138
                                             )
       vs.                                   )
                                             )                 ORDER
GUSTAVO AMBRIZ-SALDANA,                      )
                                             )
                     Defendant.              )


       This matter is before the court on defendant’s application to proceed without

prepayment of fees. Filing No. 87 (part 2). The court being fully advised finds that this

motion should be granted.

       THEREFORE, IT IS ORDERED THAT defendant’s motion to proceed in forma

paperis, Filing No. 87 (part 2), is hereby granted.

       DATED this 14th day of April, 2006.

                                             BY THE COURT:



                                             s/Joseph F. Bataillon
                                             JOSEPH F. BATAILLON
                                             UNITED STATES DISTRICT JUDGE
